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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LISA ALLEN and MISTY DALTON,

            Plaintiffs,

                 v.                                                    No. 15 C 3053
                                                                    Judge James B. Zagel
GREATBANC TRUST COMPANY,

             Defendant.

                          MEMORANDUM OPINION AND ORDER

         Plaintiffs are two current and former employees of Personal-Touch Home Care, Inc.

(“Personal-Touch”), who participated in the company’s Employee Stock Ownership Plan

(“ESOP”) when it was created in 2010. Plaintiffs bring this suit against the trustee of the ESOP,

Defendant GreatBanc Trust Company, under the Employee Retirement Income Security Act

(“ERISA”), 29 U.S.C. § 1001 et seq. (2012). In claim one, Plaintiffs allege that Defendant

breached its fiduciary duty because the ESOP overpaid for shares of Personal-Touch stock and

borrowed money at an unreasonable rate to fund its purchase. In claim two, Plaintiffs allege that

the actions in claim one violated ERISA’s prohibited transaction rules.

         This matter is presently before me on Defendant’s motion to dismiss both claims under

Federal Rule of Civil Procedure 12(b)(6). For the following reasons, I grant Defendant’s motion.

                                        BACKGROUND

         An ESOP is a type of retirement compensation plan where an employer allows its

employees to purchase company stock. Typically, employees do not directly control the ESOP.

Instead, control is often delegated to a third-party fiduciary, who is required to manage the plan

prudently under 29 U.S.C. § 1104.



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           Lisa Allen and Misty Dalton are current and former employees of Personal-Touch, a

privately held corporation that provides at-home health care to customers in eleven states. Allen

worked as a field nurse, and Dalton as a healthcare management administrator. Defendant is the

trustee and fiduciary of the Personal-Touch ESOP, and has been for all relevant periods.

           Both Allen and Dalton were participants in the ESOP when it purchased an unknown

percentage of Personal-Touch shares for $60 million on December 9, 2010. The transaction was

funded by a $60 million loan from Personal-Touch (and/or its principal shareholders) to the

ESOP, payable over 30 years with 6.25% annual interest.

           According to Plaintiffs, the value of ESOP’s Personal-Touch shares was only 78% of

the purchase price about one month after the transaction, 50% by the end of 2011, and 45% by

the end of 2013. Plaintiffs also allege that the market rate for a loan similar to the one extended

to the ESOP is 4.25%, significantly lower than the rate the ESOP received. In the complaint,

Plaintiffs initially alleged that this 4.25% market rate was determined by Defendant’s own

accountants in the ESOP’s “2010 5500 Financial Statement Note G.” Plaintiffs have since

conceded in their Sur-Reply to Defendant’s motion that the financial statement provides no such

determination. Plaintiffs, however, maintain their allegation of the market rate without this

support.

                                       LEGAL STANDARD

           A motion to dismiss under Rule 12(b)(6) does not test the merits of a claim; rather it

tests the sufficiency of the complaint. Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). In deciding a 12(b)(6) motion, the court accepts all well-pleaded facts as true, and draws

all reasonable inferences in favor of the plaintiff. Id. at 1521. To survive a 12(b)(6) motion, “a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is



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plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id.

                                           DISCUSSION

          I will first address Plaintiffs’ breach of fiduciary duty claim. Because there is a

substantial amount of overlap between the key issues of both claims, most of my analysis in the

first section will also apply to the second section.

I.        Breach of Fiduciary Duty

          Plaintiffs’ first claim is that Defendant breached its fiduciary duty under 29 U.S.C.

§ 1104(a)(1) by arranging for the ESOP to purchase Personal-Touch shares above value,

financed with an unreasonable loan rate. In order to state a claim for breach of fiduciary duty,

Plaintiffs must plead: “(1) that the defendant is a plan fiduciary; (2) that the defendant breached

its fiduciary duty; and (3) that the breach resulted in harm to the plaintiff.” Kenseth v. Dean

Health Plan, Inc., 610 F.3d 452, 464 (7th Cir. 2010) (internal citation omitted). Because the first

and third elements are not in dispute, the only element that I need to consider is whether

Plaintiffs stated a claim for an actual breach of fiduciary duty.

         ERISA fiduciaries are expected to act “with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent man acting in a like capacity and familiar

with such matters would use in the conduct of an enterprise of a like character and with like

aims.” 29 U.S.C. § 1104(a)(1)(B). To act otherwise constitutes a breach of fiduciary duty.

         Defendants argue that Plaintiffs have failed to plead sufficient facts to state a valid

claim, and I agree. After removing the legal conclusions from Plaintiffs’ complaint, the

allegations boil down to: the ESOP (1) paid too much for the Personal-Touch shares that it



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purchased because the price went down after the transaction; and (2) borrowed money to fund

this purchase at a rate higher than the market rate—without providing any supporting detail.

Without additional facts, Plaintiffs’ allegations are “merely consistent with” a breach, Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007), and fail to nudge their claim “across the

line from conceivable to plausible,” Id. at 570.

         To be well-pleaded, the complaint must adequately allege how Defendant failed to act

“with the care, skill, prudence, and diligence under the circumstances then prevailing…” 29

U.S.C. § 1104(a)(1)(B). To the extent that Plaintiffs make allegations regarding Defendant’s

failure to conduct a thorough review of Personal-Touch’s fair market value, and other allegations

to that effect, the claims are conclusory. Such allegations need not be accepted as true. Iqbal, 556

U.S. at 678.

         Factually, Plaintiffs allege that the value of ESOP’s Personal-Touch shares dropped

immediately after the purchase: by 22% within one month of the transaction; by 50% by the end

of 2011; and by 55% by the end of 2013. For these facts to support Plaintiffs’ claim that the

ESOP overpaid for Personal-Touch stock, I would have to assume that the fair market value of

Personal-Touch was better estimated by the post-drop price than the pre-drop price. In evaluating

the breach of fiduciary duty claim, however, I focus solely on Defendant’s actions or inactions at

the time of the ESOP formation and stock purchase. I find that the value of Personal-Touch stock

post facto does not speak directly to Defendant’s duty “under the circumstances then prevailing”

at the time of the purchase. The value of Personal-Touch stock after the purchase is not

necessarily indicative of the fair market value before the purchase, and I certainly find 2011 or

2013 stock prices irrelevant.

         The Supreme Court recently addressed the issue of post-purchase stock prices in Fifth



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Third Bancorp v. Dudenhoeffer, 134 S. Ct. 2459 (2014). According to the Court, “allegations

that a fiduciary should have recognized from publicly available information alone that the market

was over- or undervaluing the stock are implausible as a general rule, at least in the absence of

special circumstances.” Id. at 2471. Although the Dudenhoeffer holding dealt with publicly

traded stock instead of a privately held company such as Personal-Touch, Dudenhoeffer’s

emphasis on special circumstances seems applicable in this case. Absent an allegation of special

circumstances regarding, for example, a specific risk a fiduciary failed to properly assess, any

fiduciary would be liable for at least discovery costs when the value of an asset declines. Such a

circumstance cannot be the intention of Rule 8(a), or Dudenhoeffer. An allegation of a special

circumstance is missing in this case—in fact, we know absolutely nothing about the financial

situation of Personal-Touch.

           This requirement for special circumstances is consistent with Judge Pallmeyer’s

opinion in Neil v. Zell, 677 F. Supp. 2d 1010 (N.D. Ill. 2009), as amended (Mar. 11, 2010),

which addresses a legally similar, but far more factually complex case. Neil resulted in denial of

a motion to dismiss because the allegations raised “serious questions regarding whether

[Defendant] adequately considered the risk created by the great amount of debt Tribune would

take on in the deal.” Id. at 1020. The key part of that holding was a special circumstance, the

great amount of debt Tribune took on in its ESOP deal, a fact well-pleaded in the complaint. Id.

at 1018.

           Plaintiffs also allege, as a potentially independent ground for breach of fiduciary duty,

that the $60 million loan from Personal-Touch to the ESOP was at an annual interest rate of

6.25% when the market rate for loans of similar terms was 4.25%. Without their reference to the

ESOP’s 2010 financial statement, Plaintiffs have nothing to bolster their claim that the market



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rate was, in fact, 4.25%. 1 This allegation is simply too bare-boned and conclusory to defeat a

12(b)(6) motion.

           Furthermore, even if Plaintiffs offered an acceptable pleading of the 4.25% market rate,

it would not necessarily be enough to survive a 12(b)(6) motion. A reasonable rate is determined

from all relevant factors, including the amount and duration of the loan, the security involved,

the credit standing of the ESOP, and the interest rate prevailing for comparable loans. 29 C.F.R.

§ 2550.408b-3(g). Here, Plaintiffs pleaded only one relevant factor, the interest rate for

comparable loans. The ESOP’s loan being at a higher rate than comparable loans raises a

possibility that the rate was unreasonable. However, a dearth of other facts makes it impossible

to draw a plausible inference that the mismatched rates were due to a breach of fiduciary duty.

           I therefore resist the opportunity to let this claim move forward supported only by a

post facto drop in share price and the conclusory allegation that the loan rate was higher than the

market rate. Accordingly, neither the discrepancy in loan rates nor the post facto drop in stock

price, considered separately or together, support a plausible inference that Defendant breached its

fiduciary duty. The first claim is dismissed.

II.        Prohibited Transactions Claim

           In their second claim, Plaintiffs allege that Defendant caused the ESOP to engage in

prohibited transactions under 29 U.S.C. § 1106(a)(1)(A-B) when the ESOP both bought stock

and received a loan from a “party in interest.” Personal-Touch is a party in interest because it is

an employer whose employees are covered by the ESOP. 29 U.S.C. § 1002(14)(C). The ERISA

statute categorically prohibits almost any transaction between an ESOP and a party in interest,

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 As discussed in the “Background” section above, Plaintiffs initially alleged that “accountants for the ESOP
determined that a fair interest rate for similar private debt transactions was 4.25%” and cited to ESOP’s “2010 5500
Financial Statement Note G” to support this allegation. Because Plaintiffs acknowledge that the ESOP’s 2010
“5500” statement provides no such support, however, I am proceeding under the assumption that this mistaken
allegation will be stricken from the complaint.

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but then provides a long list of exemptions. 29 U.S.C. § 1106(a)(1)(A-B).

              A purchase of shares by an ESOP from a party in interest is exempted from being a

prohibited transaction if the shares are purchased for “adequate consideration.” 29 U.S.C.

§ 1108(e)(1)(A). Adequate consideration is defined, for a security with no generally recognized

market, 2 as “the fair market value of the asset as determined in good faith by the trustee or

named fiduciary pursuant to the terms of the plan and in accordance with regulations

promulgated by the Secretary.” 29 U.S.C. § 1002(18)(B). Under Seventh Circuit caselaw, this

statutory provision creates a two-part test that (1) the ESOP paid no more than fair market value

and (2) the fair market value was determined in good faith. Keach v. U.S. Trust Co., 419 F.3d

626, 636 (7th Cir. 2005). At trial, the defendant would carry the burden of satisfying this test. Id.

              Because Plaintiffs have not alleged that Defendant operated in bad faith, fair market

value is the only component of “adequate consideration” at issue. Conveniently, the central

question here is the same issue that was already discussed above: did Plaintiffs successfully

plead that the ESOP paid more than fair market value for the Personal-Touch shares? For the

reasons in my analysis above, the well-pleaded facts in Plaintiffs’ complaint rise only to the level

of possibility, not plausibility.

              I must next consider the loan. An extension of credit from a party in interest to an

ESOP is a prohibited transaction unless (1) the loan is primarily for the benefit of the plan

participants and (2) “such loan is at an interest rate which is not in excess of a reasonable rate.”

29 U.S.C. § 1108(b)(3). Plaintiffs do not dispute that the loan was primarily for the benefit of the

plan participants. The only relevant question, therefore, is whether the loan rate exceeded a

reasonable rate. Again, the question of whether Plaintiffs successfully pleaded an unreasonable

rate was analyzed above. The well-pleaded facts are sufficient only to support the possibility of
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    It appears that this is the case for Personal-Touch, though the parties did not specifically brief that issue.

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such a rate, not plausibility. Accordingly, the second claim is also dismissed.

                                          CONCLUSION

          For the reasons stated above, I am granting Defendant’s motion to dismiss both claims.

I am conscious of the Seventh Circuit’s guidance that “a plaintiff’s pleading burden should be

commensurate with the amount of information available to them,” Bausch v. Stryker Corp., 630

F.3d 546, 561 (7th Cir. 2010), and that Plaintiffs may well be able to plead their claim with

additional facts giving rise to the necessary plausibility. Therefore, this dismissal is without

prejudice and with leave to amend the complaint.

                                                       ENTER:




                                                       James B. Zagel
                                                       United States District Judge

DATE: October 1, 2015




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